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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHECKPOINT SYSTEMS, INC.,                      :
         Plaintiff,                            :
                                               :
       v.                                      :          CIVIL ACTION
                                               :
ALL-TAG SECURITY S.A., et al.,                 :          NO. 01-2223
          Defendants.                          :

                                           ORDER

       AND NOW, this _7th_____ day of August, 2018, upon consideration of Checkpoint

System, Inc.’s Motion to Lift Stay and Tax Costs Requested in Checkpoint’s Second Bill of

Costs (Doc. 389), Defendants’ Opposition to Motion to Lift Stay and Tax Costs Requested in

Checkpoint’s Second Bill of Costs (Doc. 390), Checkpoint Systems, Inc.’s Memorandum in

Support of its Motion to Lift Stay and Tax Costs Requested in Checkpoint’s Second Bill of Costs

(Doc. 393), and Defendants’ Memorandum of Law in Support of their Opposition to Motion to

Lift Stay and Tax Costs Requested in Checkpoint’s Second Bill of Costs (Doc. 394), IT IS

HEREBY ORDERED AND DECREED that Checkpoint System, Inc.’s Motion (Doc. 389) is

GRANTED as follows:

       1. The stay in this matter is LIFTED;

       2. Costs are taxed against Defendants in the full amount requested in (Doc. 382); and

       3. Judgment is entered against Defendants jointly and severally in the amount of

            $276,164.64.



                                                          BY THE COURT:

                                                          /s/ Petrese B. Tucker
                                                          ____________________________
                                                          Hon. Petrese B. Tucker, U.S.D.J.
